 Case 2:99-cr-00189        Document 494        Filed 01/13/09    Page 1 of 2 PageID #: 1042




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                  CRIMINAL ACTION NO. 2:99-00189-1

WILLIAM DURAN SPEIGHT,

                              Defendant.


                  MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2007, the United States Sentencing Guidelines were amended to reduce by two levels

the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for Standard consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, plea agreement, and

addendum to the PSI from the Probation Office, and received any materials submitted by the parties

on this issue. The Court has also considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.

       The court orginally attributed 84 grams of cocaine base to the defendant and 2.82 grams of

marijuana, which converted to 1,696.22 kilograms of marijuana equivalent. His original offense
 Case 2:99-cr-00189        Document 494         Filed 01/13/09      Page 2 of 2 PageID #: 1043




conduct resulted in a base offense level of 32, and a criminal history category of I. The defendant

received a two-level enhancement for possession of a firearm and a two-level enhancement for

obstruction of justice. The defendant had no other enhancements or reductions. His original

guideline range was 188 to 235 months. The United States has indicated that it does not object to

a two-level reduction in the defendant’s sentence.

       Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

Defendant’s base offense level be reduced by two levels, resulting in a new total offense level of 34,

and a guideline range of 151 to 188 months. It is further ORDERED that Defendant’s previous

sentence be reduced to a period of 151 months, with credit for time served to date. This Order is

subject to the prohibition contained within U.S.S.G. §1B1.10(b)(2)( C).

       The Court DIRECTS the Clerk to send a copy of this Order to the defendant and counsel,

the United States Attorney, the United States Probation Office, the Federal Bureau of Prisons and

the United States Marshals.

                                               ENTER:         January 13, 2009
